Case 2:11-cr-OO762-PSG Document 5 Filed 08/05/11 Page 1 of 1 Page |D #:39
Memorandum

  

 

 

 

 

 

 

Subj: Date: v 1 l y W;
UNITED sTATEs v. JANETH BREWER, ' Auaust 4, 2011 ~ 1§:; §§ §§ iii 7 h 1a
To: TERRY NAFISI From: PAUL G. STERN FG’Y
Clerk, United States District Court Assistant United States Attorney
Central District of California Criminal Division ma
The accompanying matter being filed on 8/5/2011, f §§
relates to X does not relate to w
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(1) a matter pending in the Criminal Division of the USAO at any time between October 2002 and @ctober 5;:2,003,
the dates during which Jacqueline Chooljian was Chief of the Criminal Division 1n the USAO'; (2) a matter p§f_;iding
in the Maj or Frauds Section of the USAO at any time between October 5, 2003 and January 6 2006, jthe date»ig»$n
which Jacqueline Chooljian resigned her appointment in the USAO; or (3) a matter in which Jacqueline Chooljian
was personally involved or on which she Was personally consulted while employed in the USAO.

relates to § X does not relate to

a matter in which Patrick J. Walsh was personally involved or on which he was personally consulted while employed
in the USAO.

relates to x does not relate to

(l) a matter pending in the Riverside Branch of the USAO at any time between October 2, 2006 and April 4, 2011,
the dates spanning the date when Sheri Pym became the Chief of the Riverside Branch of the USAO and the date
when she resigned her appointment in the USAO; or (2) a matter in which Sheri Pym Was personally involved or on
which she was personally consulted while employed 1n the USAO. .

X relates to _ does not relate to

(l) a matter pending in the Major Frauds Section of the USAO at any time between May 8, 2009 an March 31, 2011,
the dates spanning the date when Michael Wilner became a Deputy Chief of the Major Frauds Section of the USAO
and the date when he resigned his appointment in the USAO; or (2) a matter in which Michael Wilner was personally
involved or on which he was personally consulted while employed 1n the USAO.

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PAUL G. STERN
Assistant United States Attorney

 

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